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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA FEL NY
INDICTMENT FOR BANK ROBBERY

UNITED STATES OF AMERICA * CRIMINAL xo. 9 ™ 0 0 2
v. * SECTION: SE CT. JM AG.
LEVI HERMAN * VIOLATION: 18 U.S.C. § 2113(a)
%
* * *
The Grand Jury charges that:
COUNT 1

On or about December 4, 2019, in the Eastern District of Louisiana, the defendant, LEVI
HERMAN, by force, violence and intimidation, did take from the person or presence of another
approximately $1,900.00 of United States currency, belonging to and in the care, custody, control,
management, and possession of the Capital One Bank, in New Orleans, Louisiana, a bank whose
deposits were then insured by the Federal Deposit Insurance Corporation, in violation of Title 18,

United States Code, Section 2113(a).

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NOTICE OF FORFEITURE

1. The allegations of Count 1 are incorporated by reference as though set forth fully
herein for the purpose of alleging forfeiture to the United States.

2. As aresult of the offense alleged in Count 1, the defendant, LEVI HERMAN, shall
forfeit to the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C), and
Title 28, United States Code, Section 2461(c), any property real or personal which constitutes or
is derived from proceeds traceable to said offense, including but not limited to the following:

$1,900 U.S. currency.

3. If any of the above-described property, as a result of any act or omission of the
defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without difficulty;
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the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.

A TRUE BILL:

 

PETER G. STRASSER
UNITED STATES ATTORNEY

Lot qat:

SPIRO G. LATSI
Assistant United States Attorney

 

New Orleans, Louisiana
December 13, 2019
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